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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


   TAMMY RAUL,
                                                  Civil Action No. 1:21-cv-03414-GBD
                        Plaintiff,

          v.


   M&T BANK CORPORATION, C.
   ANGELA BONTEMPO, ROBERT T.
   BRADY, CALVIN G. BUTLER, JR., T.
   JEFFERSON CUNNINGHAM, III,
   GARY N. GEISEL, LESLIE V.
   GODRIDGE, RICHARD S. GOLD,
   RICHARD A. GROSSI, RENE F.
   JONES, RICHARD H. LEDGETT, JR.,
   NEWTON P.S. MERRILL, KEVIN J.
   PEARSON, MELINDA R. RICH,
   EOBERT E. SADLER, JR., DENIS J.
   SALAMONE, JOHN R. SCANNELL,
   DAVID S. SCHARFSTEIN, RUDINA
   SESERI, and HERBERT L.
   WASHINGTON,


                        Defendants.


                        PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff

Tammy Raul hereby voluntarily dismisses her claims in the above-captioned action (the

“Action”). Defendants have filed neither an answer nor a motion for summary judgment in the

Action.



Dated: June 1, 2021                                     Respectfully submitted,
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